       Case 3:16-cr-02575-AJB               Document 96            Filed 01/12/17            PageID.302          Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                   United States District Court
                                        SOUTHERN DISTRICT OF CALIFORNIA                                        17 JAM 12 PM l=W
            UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE                       ':", T'^
                                                                    (For Offenses Committed On or After November 1^1987) "1‘
                       y.
          NICANOR SANTANA-AGUILAR (04)
                                                                       Case Number:         16CR2575-AJB-04

                                                                    Robert H. Rexrode
                                                                    Defendant’s Attorney
REGISTRATION NO.                 58691298

□-
THE DEFENDANT:
[El pleaded guilty to count(s)      One of the Information

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                   Nature of Offense                                                                  Number(s)
8 USC 1324(a)(l)(A)(ii)           Conspiracy to Transport Certain Aliens for Financial Gain                              1
and (a)(l)(B)(i)




     The defendant is sentenced as provided in pages 2 through    ___          2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is          dismissed on the motion of the United States.

      Assessment: $100.00 - Remitted
[3


IEI Fine waived            □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    January 9. 201 >
                                                                     iatehf Imposition of Sentence



                                                                   'HON. ANTHONY J. BATTAGLIA
                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                  16CR2575-AJB-04
      Case 3:16-cr-02575-AJB              Document 96       Filed 01/12/17       PageID.303        Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                NICANOR SANTANA-AGUILAR (04)                                             Judgment - Page 2 of 2
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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:
 □



       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                    16CR2575-AJB-04
